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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                                                 §
                                                 §
VS.                                              §          CRIMINAL NO. H-10-108
                                                 §
                                                 §
                                                 §
ANTONIO DURAN, et al.                            §

                                          ORDER

       Defendant Tito Jimenez filed an unopposed motion for continuance, (Docket Entry

No. 70). The co-defendants are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The

docket control order is amended as follows:

       Motions are to be filed by:                   August 9, 2010
       Responses are to be filed by:                 August 23, 2010
       Pretrial conference is reset to:              August 30, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        September 7, 2010, at 9:00 a.m.


              SIGNED on May 24, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
